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 7    FOOD COMPANY and SWIFT BEEF
      COMPANY
 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
     LANE STOLL, an individual,                    Case No. 5:21-cv-1111
11
12                 Plaintiff,                      NOTICE OF REMOVAL OF
                                                   STATE COURT CIVIL ACTION
13           vs.                                   UNDER 28 U.S.C. §§ 1332, 1441
14                                                 AND 1446 [DIVERSITY
     JBS USA FOOD CO. dba SWIFT BEEF               JURISDICTION]
15   COMPANY, a California business, form
16   unknown; JBS CASE READY, a                    Removed from the Superior Court of
     California business, form unknown; and        the State of California, County of
17   DOES 1 through 20, inclusive,                 Riverside
18
                   Defendants.                     Case No. CVRI2000256
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                                 DEFENDANTS’ NOTICE OF REMOVAL
     sf-4520544
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 1 TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF, AND
 2 HIS COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441 and
 4 1446, Defendants JBS USA Food Company and Swift Beef Company (“Defendants”)
 5 hereby remove the above-captioned state court action currently pending in the
 6 Superior Court of the State of California for the County of Riverside to the United
 7 States District Court for the Central District of California. Removal of the action is
 8 proper for the reasons listed below:
 9          1.    On or about November 17, 2020, Plaintiff Lane Stoll (“Plaintiff”) filed
10 this civil action in the Superior Court of California, County of Riverside, captioned
11 Lane Stoll v. JBS USA Food Co. dba Swift Beef Company, et al., Case No.
12 CVRI2000256 (the “State Court Action”). On June 3, 2021, Plaintiff served
13 Defendants with the Complaint. True and correct copies of all process, pleadings, and
14 orders that have been served on Defendants in this action, as well as the Answer filed
15 by Defendants in the State Court Action, are attached hereto collectively as Exhibit
16 A.
17          2.    Plaintiff alleges he was employed by Defendants and “JBS Case Ready”
18 as an operations manager until the termination of his employment on March 13, 2020.
19 (Cmplt. ¶¶ 10, 11, 14.) Plaintiff asserts seven causes of action against Defendants and
20 “JBS Case Ready”: (1) retaliation in violation of California Labor Code § 1102.5;
21 (2) national origin discrimination in violation of violation of California’s Fair
22 Employment and Housing Act (“FEHA”), California Gov’t Code §§12940 et seq; (3)
23 failure to take reasonable steps to prevent discrimination, harassment, and retaliation
24 in violation of California Gov’t Code §§12940(k); (4) retaliation in violation of
25 FEHA; (5) wrongful termination in violation of public policy; (6) violation of the
26 California Unfair Business Practices Act; and (7) workplace harassment in violation
27 of the California Constitution and FEHA. (Cmplt. ¶¶ 16-63.) Plaintiff seeks relief
28 for lost earnings and benefits, emotional and mental distress; attorneys’ fees, witness
                                             2
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 1 fees, and costs; punitive damages; interest; and injunctive relief. (Cmplt. at p. 11
 2 [Prayer].)
 3          3.      Defendants filed their Answer in the State Court Action on July 1, 2021.
 4          4.      JBS USA Food Company and Swift Beef Company are the only
 5 defendants that are existing active entities and, therefore, no other defendant must join
 6 in this removal. See 28 U.S.C. § 1446(b)(2)(A).
 7          5.      The Complaint names as a defendant one other purported entity, “JBS
 8 Case Ready,” which has never existed. (Declaration of Kim Pryor (“Pryor Decl.”) ¶
 9 4.) A purported defendant that is a non-existent business entity is not required to join
10 in or consent to the removal of a case, nor is the citizenship of the non-existent entity
11 considered for purposes of complete diversity of citizenship. See United Computer
12 Sys., Inc. v. AMT Corp., 298 F.3d 756, 765 (9th Cir. 2002) (“nominal” defendants
13 need not consent to removal); Newsom v. Caliber Auto Transfer of St. Louis, Inc.,
14 2009 WL 4506298, *2 (S.D. Ill. Nov. 26, 2009) (consent of non-existent entity not
15 required for removal); Gowdy v. Caliber Auto Transfer of St. Louis, Inc., 2009 WL
16 3584254, *1 (S.D. Ill. Oct. 27, 2009) (same); Mullen v. Bobcat Co., 2008 WL
17 4147401, *1-3 (W.D.N.Y. Sept. 2, 2008) (same); City of Cleveland v. Deutsche Bank
18 Trust Co., 571 F.Supp.2d 807, 818-21 (N.D. Ohio 2008) (same); Bernsten v. Balli
19 Steel, PLC, Civil Action No. 08-62, 2008 WL 862470, at *2-8 (E.D. Pa. Mar.31,
20 2008) (same). Accordingly, the nonexistent defendant “JBS Case Ready” need not
21 be addressed herein.
22          6.      This Notice is effected properly and timely pursuant to 28 U.S.C.
23 § 1446(b) because it has been filed within 30 days after Defendants were properly
24 served with a copy of the Summons and Complaint.
25          7.      This action is properly removable to the United States District Court for
26 the Central District of California pursuant to 28 U.S.C. § 1446(a) because the Superior
27 Court of California, County of Riverside, in which this case was brought, lies within
28 this district.
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 1          8.    Defendants will promptly serve a copy of this Notice on counsel for
 2 Plaintiff and will file a copy of this Notice with the Clerk of the Superior Court of
 3 California, County of Riverside, pursuant to 28 U.S.C. § 1446(d).
 4                  THIS COURT HAS DIVERSITY JURISDICTION
 5          9.    Pursuant to 28 U.S.C. § 1332(a)(1), this Court has original jurisdiction
 6 over this matter because it is a civil action between citizens of different States where
 7 the matter in controversy exceeds the sum or value of $75,000.
 8                                      CITIZENSHIP
 9          10.   Plaintiff alleges he is a resident of Riverside County, California. (Cmplt.
10 ¶ 1). “[W]hile residence and citizenship are not the same, a person’s place of
11 residence is prima facie evidence of his or her citizenship.” McEntire v. Kmart Corp.,
12 2010 WL 553443, *3 (D.N.M. Feb. 9, 2010). “[P]roof that a person is a resident of a
13 state is prima facie evidence that he is a citizen thereof, and supposedly shifts the
14 burden of showing that his domicile and citizenship is other than the place of his
15 residence to him who alleges it.” 13E Fed. Prac. & Proc. Juris. § 3611 (3d ed.)
16 (quotation marks and citation omitted). Based on Plaintiff’s allegation regarding his
17 residency (see Compl. ⁋ 1), Defendant alleges that Plaintiff is a citizen of California.
18          11.   Defendant JBS USA Food Company is the parent company of Defendant
19 Swift Beef Company. (Pryor Dec. ⁋ 3.) Both JBS USA Food Company and Swift
20 Beef Company are now, and were at the time this action was commenced, citizens of
21 States other than California within the meaning of 28 U.S.C. § 1332(c)(1). A
22 corporation shall be deemed to be a citizen of every State by which it has been
23 incorporated and of the State where it has its principal place of business. 28 U.S.C.
24 § 1332(c)(1). A corporation’s principal place of business “refers to the place where
25 the corporation’s high level officers direct, control, and coordinate the corporation’s
26 activities.” Hertz Corp. v. Friend, 559 U.S. 77, 80 (2010).
27          12.   Despite Plaintiff’s allegation otherwise (Cmplt. ¶ 2), Defendants JBS
28 USA Food Company and Swift Beef Company are now, and were at the time this
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 1 action was commenced, incorporated in the State of Delaware. (Pryor Dec. ¶ 2-3.)
 2 The principal place of business for Defendants JBS USA Food Company and Swift
 3 Beef Company is now, and was at the time this action was commenced, in the State
 4 of Colorado. (Id.) Specifically, both JBS USA Food Company and Swift Beef
 5 Company have their headquarters and principal places of business in Greeley,
 6 Colorado. (Id.) Accordingly, Defendants JBS USA Food Company and Swift Beef
 7 Company are citizens of the States of Delaware and Colorado.
 8          13.    Plaintiff’s Complaint also names as Defendants “Does 1 through 20.”
 9 Pursuant to 28 U.S.C. § 1441(b), the citizenship of defendants sued under fictitious
10 names must be disregarded for the purpose of determining diversity jurisdiction.
11 Further, to Defendants’ knowledge, no fictitious defendant has been served; thus,
12 none need join in this Notice of Removal. See Salveson v. Western States Bankcard
13 Assoc., 731 F.2d 1423, 1429 (9th Cir. 1984) (“Our circuit rule is that a party not
14 served need not be joined; the defendants summon[]ed can remove by themselves.”).1
15          14.    Therefore, because Plaintiff is a citizen of California and Defendants are
16 citizens of Delaware and Colorado, complete diversity existed and continues to exist
17 between Plaintiff and Defendants, both at the time the State Court Action was filed
18 and at the time of removal to this Court.
19                THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
20          15.    Without making an admission of liability or damages with respect to any
21 aspect of this case, Defendants represent that they have a good faith belief that the
22 amount placed in controversy by Plaintiff’s claims exceeds the jurisdictional
23 minimum.
24          16.    Defendants can establish the amount in controversy by the allegations in
25 the Complaint, or by setting forth facts in the Notice of Removal that demonstrate that
26
27   1
    Again, “JBS Case Ready” is a nonexistent entity and should be ignored for the purposes of
28 diversity jurisdiction. (See ⁋ 5, supra.)
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 1 the amount in controversy “more likely than not” exceeds the jurisdictional minimum.
 2 Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996). “[T]he
 3 amount in controversy is simply an estimate of the total amount in dispute, not a
 4 prospective assessment of defendant’s liability.” Lewis v. Verizon Comm., Inc., 627
 5 F.3d 395, 400 (9th Cir. 2010). In measuring the amount in controversy, a court must
 6 assume that the allegations of the Complaint are true and that a jury will return a
 7 verdict for Plaintiff on all claims made in the Complaint. Kenneth Rothschild Trust
 8 v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The
 9 ultimate inquiry is what amount is put “in controversy” by Plaintiff’s complaint, not
10 what Defendants will actually owe. Rippee v. Boston Market Corp., 408 F. Supp. 2d
11 982, 986 (S.D. Cal. 2005). Economic damages, non-economic damages, punitive
12 damages, and attorneys’ fees are all be included in determining the amount in
13 controversy. See Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir.
14 1998) (prayer for attorneys’ fees included in determining the amount in controversy
15 where such fees are potentially recoverable by statute). The Court may examine the
16 nature of the action and the relief sought and take judicial notice of attorneys’ fee
17 awards in similar cases. See, e.g., Simmons v. PCR Technology, 209 F. Supp. 2d 1029,
18 1034-35 (N.D. Cal. 2002) (noting that attorneys’ fees in individual employment cases
19 often exceed damages). Furthermore, such fees are calculable beyond the time of
20 removal. Id.
21          17.   Plaintiff asserts claims for employment discrimination and retaliation, as
22 well as wrongful termination in violation of public policy, and seeks the following
23 relief: lost earnings, lost benefits, emotional and mental distress damages, punitive
24 damages, and attorneys’ fees and costs. (Cmplt. ¶¶ 22-24, 30-32, 36-38, 43-45, 49-
25 51, 55-57, 61-63, and p. 11 [Prayer].)
26          18.   Plaintiff alleges that his employment was terminated on March 13, 2020.
27 (Id. ¶ 14.) At the time of his termination, Plaintiff was a full-time employee and
28 earned a salary of $114,000 per year. (Declaration of Araceli Burket ¶ 3.) Plaintiff
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 1 seeks damages for lost wages from the time of his termination. See Chavez v.
 2 JPMorgan Chase & Co., 888 F.3d 413, 415 (9th Cir. 2018) (“the amount in
 3 controversy is not limited to damages incurred prior to notice of removal,” but rather
 4 “encompasses all relief a court may grant on [the] complaint if the plaintiff is
 5 victorious”). Thus, since Plaintiff’s termination nearly 16 months ago, Plaintiff has
 6 allegedly accrued approximately $152,000 in lost wages to date, with that amount
 7 growing as the case progresses.
 8          19.   Plaintiff also seeks emotional distress damages and punitive damages.
 9 (Cmplt. ¶¶ 22-24, 30-32, 36-38, 43-45, 49-51, 55-57, 61-63, and p. 11 [Prayer].)
10 Emotional distress damages may be considered in calculating the amount in
11 controversy even if not clearly pleaded in the complaint. See Simmons v. PCR
12 Technology, 209 F.Supp.2d 1029, 1034 (N.D. Cal. 2002); see also Richmond v.
13 Allstate Ins. Co., 897 F. Supp.447, 449-450 (S.D. Cal. 1995). Plaintiff’s prayer for
14 emotional distress damages further augments the foregoing amounts and
15 demonstrates that the jurisdictional prerequisite for removal of this action is
16 met. See Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999) (plaintiff’s
17 claims for pain and suffering and humiliation properly may be factored into the
18 jurisdictional analysis for purposes of removal).
19          20.   A defendant may introduce evidence of jury verdicts in other cases as
20 evidence of a plaintiff’s potential emotional distress damages. Cain v. Hartford Life
21 & Accident Ins. Co., 890 F. Supp. 2d 1246, 1250 (C.D. Cal. 2012); Mejia v. Parker
22 Hannifin Corp., 2018 WL 582325, *3 (C.D. Cal. Jan. 26, 2018). Such cases must be
23 factually analogous, but they need not be identical. See, e.g., Castillo v. ABM Indus.,
24 Inc., 2017 WL 5609791, *3-4 (C.D. Cal. Nov. 20, 2017).
25          21.   Although Defendants dispute that Plaintiff is entitled to any such award,
26 plaintiffs in employment discrimination and retaliation cases analogous to the
27 disputed allegations in the current case have been awarded substantial sums for
28 emotional distress. See, e.g., Lave v. Charter Communications L.L.C., 35 Trials
                                              7
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 1 Digest 20th 2, 2017 WL 3712924 (Cal. Super.) (awarding $575,000 in emotional
 2 distress damages for, among other things, discrimination in violation of FEHA,
 3 wrongful termination in violation of public policy, failure to remedy and/or prevent
 4 discrimination and retaliation, and retaliation in violation FEHA); Kourounian v. Cal.
 5 Dep’t of Tax and Fee Admin., JVR No. 1911260030, 2019 WL 6320930 (Cal. Super.)
 6 (jury verdict in Los Angeles County Superior Court in favor of plaintiff alleging
 7 retaliation in violation of FEHA, and awarding plaintiff $358,368 in emotional
 8 distress damages); Thompson v. City of Pasadena, JVR No. 1907200003, 2019 WL
 9 3253130 (Cal. Super.) (jury verdict in Los Angeles County Superior Court in favor of
10 plaintiff alleging retaliation in violation of FEHA and Labor Code § 1102.5, and
11 awarding plaintiff $500,000 in emotional distress damages). Based on the foregoing
12 cases, Defendants estimate that Plaintiff’s claims have placed in dispute at least
13 $75,000 in emotional distress damages.
14          22.   The amount in controversy may include punitive damages when they are
15 recoverable as a matter of law. Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir.
16 2001); Miller v. Michigan Millers Ins. Co., 1997 WL 136242, *4 (N.D. Cal. 1997)
17 (Patel, J., presiding); Richmond v. Allstate Ins. Co., 897 F.Supp. 447, 450 (S.D. Cal.
18 1995). Plaintiff brings claims pursuant to FEHA. Punitive damages are available
19 under FEHA. Cal. Gov’t Code § 12940. Accordingly, the Court may consider
20 punitive damages when determining the amount in controversy. To establish probable
21 punitive damages, a defendant may introduce evidence of jury verdicts in cases
22 involving analogous facts. Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1033 (N.D.
23 Cal. 2002).
24          23.   Juries in California have awarded substantial amounts in punitive
25 damages for claims arising under FEHA. See, e.g. Donnell v. Natvan, Inc., JVR No.
26 1808060019 (Cal. Super.) (jury verdict in Los Angeles County Superior Court in
27 favor of plaintiff alleging national origin and race discrimination under FEHA and
28 constructive discharge in violation of public policy, and awarding plaintiff $125,000
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 1 in punitive damages); Wu v. World Journal, Inc., 6 Trials Digest 12th 12, 2007 WL
 2 5987126 (Cal. Super.) (jury verdict awarding a total of $100,000 in punitive damages
 3 to plaintiff alleging employment discrimination and retaliation). Based on the
 4 foregoing cases, Defendants estimate that Plaintiff has placed in dispute at least
 5 $75,000 in punitive damages.
 6          24.   In total, the amount in controversy in this action more likely than not
 7 exceeds the jurisdictional threshold, even without taking into account Plaintiff’s
 8 request for attorneys’ fees. But in addition to Plaintiff’s claimed damages, Plaintiff
 9 also seeks an award of attorney’s fees with respect to each cause of action in his
10 Complaint. (Compl. at p. 11 [Prayer].) The Ninth Circuit has held that “where an
11 underlying statute authorizes an award of attorneys’ fees, either with mandatory or
12 discretionary language, such fees may be included in the amount in controversy.”
13 Galt G/S, 142 F.3d at 1156. Courts have interpreted Galt to allow a removing
14 defendant to add to the amount in controversy a reasonable estimate of plaintiff’s
15 attorney’s fees likely to be incurred through the resolution of the case. See, e.g., Brady
16 v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1010-11 (N.D. Cal. 2002) (“[A]
17 reasonable estimate of fees likely to be incurred to resolution is part of the benefit
18 permissibly sought by the plaintiff and thus contributes to the amount in
19 controversy.”).
20          25.   A reasonable estimate of the attorneys’ fees likely to be incurred by
21 Plaintiff through trial easily exceeds $75,000 in this case asserting seven claims
22 against two alleged entities for alleged employment discrimination, retaliation,
23 wrongful termination, and unfair business practices. Accordingly, the jurisdictional
24 threshold is more likely than not exceeded based on attorneys’ fees alone.
25          26.   For the reasons stated above, this Court has diversity jurisdiction over
26 this action pursuant to 28 U.S.C. § 1332, so this action is removable pursuant to 28
27 U.S.C. § 1441(b).
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 1          27.   By filing this Notice of Removal, Defendants do not waive and expressly
 2 reserve all rights, objections, and defenses in this case.
 3
     Dated: July 2, 2021                MORRISON & FOERSTER LLP
 4
 5
                                        By:         /s/ Tritia M. Murata
 6                                              Tritia M. Murata
 7
                                              Attorneys for Defendant JBS USA FOOD
 8                                            COMPANY and SWIFT BEEF COMPANY
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      EXHIBIT A
                Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 12 of 42 Page ID #:12
                                                                                                                                                      SUM-100
                                         SUMMONS                                                                         FOR COURT USE. ONLY
                                                                                                                      (SOLOPARA USO DE.LA CORTE.)
                                  (CITACION JUDICIAL)
NOTICE TO D N-0AN=f.·
A.   CALD.E~NDADO~-.                                                                                                      FILED
                                                                                                                  Superior Court ofCalifprnia
 JBS USA FOOD CO. dba SWIFL1EEF COMPANY, a California                                                                County of Riverside
         orm un nown; please see attachment for more parties                                                               11/17/2020
                                                                                                                       L. Merc:ado-Burni
YOU ARE BEING SUED BY PLAINTIFF:                                                                                        Electronically Filed
(LO ESTA Dl=MANDANDO EL DEN/ANDANTE):
 LANE STOLL, an individual

  NOTICE! You haye been sued. The court may decide against you '{llithout.your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this su!)'imons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be ih proper legal form if you warit the court to hear your
  case. There may be a .court form that you can use for your response. You can find these court forms and more information at the California Cou·rts
  Online Self-Help Center (www.cowtinfo.ca.gov/selfhelp), your county law library,. or the courthouse .nearest you. If you. cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do no.t file your-response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.                                ·                                    ·                            ·
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal.Services Web site (www.lawhelpcafifomia.org), the California Courts Online Self-Help Center
 (www.courlinfo.cagov/selfhelp), or by contacting your local court or county bar assoc:iation. NOTE: The court has a statutory. liem for waive)'.j fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ;AV/SO! Lo han demandado. Si no responde dentro de 30 dias, la carte puede der;;idir en su contra sin escuchar su version. Lea la informaci6n a
 continuaci6n.
     Tiene 30 D {AS DE CA LENDA RIO despues de que le entreguen esta. citaci6n ypape/es legala.s para presentar. una respuesta por escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o um~ /tamada telef6nica no lo protegen. Surespuesta por escrito tiene que estar
 en formato legal correcto. Si desea queprocesen su caso en la Corte. Es pasible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos fotmularios de la corle y mas informaci6n en e/Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la.
 biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario .de la carte
 que le de un formulario de exenci6n de.pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.                                                                                     ·
    Hayotros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a uri servicio de
 remisi6n a. abogados. $; no puede pagar a un abogado, es posible que cumpla con los requisitos para oblener servicios lega/es gratuitos de un
 programa de servidos legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Cal/fomia Legal SeNfces,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www,sucorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados locales. A VISO: Por ley, la carte. tiene .derecho a reclamar las cuotas y /os costos exe,ntos por imponer un gravamen sobre
 cua/quier recuperaci6n de $10;000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civiL Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                                    CASE NUMBER;
                                                                                                         (Numero de/.Caso):
(El nombre ydirecci6n de la carte es):       Riverside County Superior Cou,rt                                                 CVRl2000256
4050 Main Street
Riverside, CA 9250 l
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de .felefono def abogado dfll demandante, o de/ dem;:indarite que no tiene abogado, es):
 Regina Spurley, 300 N. Lake Ave., Suite 1100, Pasadena, California91l01,J10-285-8595

 DATE: November 17, 2020                                             Clerk, by                                                                        , Oept.Jty
 (Fecha)                11/17/2020                                   (Secretario)                                                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED; You are served
  [SEA
                                  1. 0            an
                                          as individual defendant. .          ',   . .
                                  2.     Das the person sued under the fictitious name of (specify):


                                    3.   [l]  on behalf of (specify):
                                                i,IBS.,USA Food Co. dba Swift Beef Company, a California business, form unknown
                                         under: L.-LJ CCP 416.10 (corporation)                   CJ CCP 416.60 (minor)
                                                 D      CCP 416.20 (defunct corporation)                  D
                                                                                                     CCP 41(3.70 (conservatee}
                                                 D      CCP 41.6.40 (association or partnership)          D
                                                                                                     CCP 416;90 (authorized person)
                                                 D     other (specify):        ~
                                    4.   [7J   by personal delivery on (date):                · ; ./(
                                                                                                 /.--                                                    Pa e1 of1
Form Adopted for Mandatory Use                                       SUMIVIONS                                                 Code of Civil Procedure§§ 4,12.20, 465
  Judicial Council of Cal~ornia                                                                                                                  www courlinfo.ca.gov
  SUM-100 {Rev. July 1, 2009)
                                                                                                                                             Exhibit A, Page 11
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                                                                                                      CASE NUMBER:
    SHORT TITLE:
 _ Stoll v.JBS USA Food Co. dba Swift Beef Company, et al.

                                                             INSTRUCTIONS FOR USE
   _. This form may be used ~s an attachment to any summc;:ins if space does not permit the listing of au parties on the summons,
   -► If this attachr:nent is used; insert the following statement in the plaintiff ordefendant,bm< on the summons, "Additional Parties
      Attachment form is attached;"

    List additional parties (Check only one box. Use           a separate page tot each type of party):

      D        Plaintiff            [ZJ   Defendarit    D   Cross-Complainant     D     Cross-Defendant

    JBS CASE READY, a California business, form unknown; and DOES l through 20, inclusive,




                                                                                                                     Page          of
                                                                                                                                        Page 1 of 1
 For!l) Adopted for Mandatory Use
   Judicial Council of California                      APDITIONAL PARTIE$ J\TTACHMENT
SUM-200(A)'(Rev. January 1, 2007]                            Attachment to Summon~


                                                                                                                            Exhibit A, Page 12
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                                                                                 FILED
                                                                            Superior Court of California
                                                                               County .of Rivl:!r..ide

 l    LAW OmcES Of REGINA SPURLEY                                                   11117/2020
   Regina Sputley (SBN 256908)                                                 L, l\il~rcado-Surni
 2 300N.LAKEAyE.,:StJITE 1100                                                   Electronically Filed
   PASADENA, CALIFORNIA 9J lOJ
 3 TELEPHONE: (310) 285..,8595
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 4 r.egina@raafipn.com

 5 Attorneys fo:rPlain:tiff,
   LANE STOLL
 6

 7
 8                      SUPEIUOR COURT OF THE stAT.E OF CALIFORNIA
.9                                      COUNTY OF RIVERSIDE
10

11 LANE STOLL, an individual,                           CaseNo.
                                                                      CVR12000256
12                   Plaintiff,                         COMJ>LAINT FOR:
13           vs.                                            1. VIOLATION OF LABOR CODE
                                                                S:ECTION 1102.5;
14 JBS USA FOOD CO. db.a SWIFT BEEF                         :2. NATIONAL OR.IGIN
   COMPANY, a California business, form                         DISCRIMlNATION;
15 unknoWrt; JBS CASE READY, a California                   3. FAILURE TO TAKE
      business, fonn unknown,· and DOES 1 through               REASONABLE STEPS TO
16 20, inclusive,                                               PREVENT·DISCRIMINATIO:N,
                                                                HARASSMENT AND         .
17                   Defendants.                                RETALIATION;
                                                            4. RETALIATION;
18                                                          5'. WRONGFULTERMI.NATION;
                                                            6, VIOLATJON OF UNFAIR
19                                                              BUSINESS PRACTICES ACT;
                                                                AND,
20                                                          7. IIOST.ILE WO~lzyLACE.
21

22
23
             COMES NOW Plaintiff LANE STOLL and hereby demanding a trial byjury, complains
24
     · and alleges cm information and belief against Defendant JBS USA FOOD CO. db~1 SWIFT BEEF
25
      COMPANY (''DefendartC), as follows•:
26
                                              THE PARTIES
27
             L       PlaintifILane Stoll at all times mentioned herein was an individual residin$ in .the
28

                                                       I
                                                  COMPLAINT
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 1 County of Riverside, State of California.

 2          2.    Plaintiff is informed and believes, and based thereon alleges, that Defendant JBS

 3 USA Food Co. dba Swift Beef Company ("Swift") is a business organized pursuant to the laws of

 4 the State of California, and authorized to conduct business in the County of Riverside, State of

 5 California.

 6          3.    Plaintiff is informed and believes, and based thereon alleges, that Defendant JBS

 7 Case Ready ("Case Ready") is a business organized pursuant to the laws of the State of California,

 8 and authorized to conduct business in the County of Riverside, State of California.

 9          4.    Plaintiff does not know the true names and capacities of Defendants sued herein as

10 DOES 1-20, inclusive, and therefore sue said Defendants by such fictitious names pursuant to

11 California Code of Civil Procedure section 474. Plaintiff will amend this Complaint to state the

12 true names and capacities of the fictitiously named Defendants when the same are ascertained.

13 Plaintiff are informed and believe and based thereon allege that each of the fictitiously named

14 Defendants is legally responsible in some manner for the events and damages alleged in this

15 Complaint under the causes of action stated herein.

16          5.    Plaintiff is informed and believes and based thereon alleges that at all times

17 mentioned herein, each of the Defendants was the agent, partner, joint venturer, associate, or

18 employee of one or more of the other Defendants and was acting in the course and scope of such

19 agency, partnership, joint venture, association, or employment when the acts giving rise to the

20 cause of action occurred.

21                                  JURISDICTION AND VENUE

22          6.    The harm complained of in this complaint occurred in Riverside County and all

23 defendants reside therein.

24          7.    Plaintiff has sustained damages in excess of the minimal jurisdictional requirement

25 of this court. Plaintiff filed an administrative complaint with the Department of Fair Employment

26 and Housing on November 16, 2020, and received a Notice of Case Closure containing

27 authorization or Right to Sue.

28          8.    Defendants have business operations is in Riverside County.


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 1                       FACTS COMMON TO ALL CAUSES OF ACTION

 2         9.      Plaintiff is of Canadian national origin. Plaintiff obtained his Bachelor of Science

 3 and Master of Science degrees in Food Science from a Canadian university.

 4         10.     In December 2014, Plaintiff was hired by the Canadian unit of JBS. Plaintiff

 5 excelled at his job. In 2014, Plaintiffs direct superior, the Vice-President of the Canadian business

 6 unit of a predecessor entity, became President of JBS's new Case Ready business unit in the

 7 United States. Plaintiff, and four other Canadian co-workers, were then hand selected by the new

 8 President of JBS Case Ready to be transferred alongside him to this new JBS unit, which included

 9 the JBS Case Ready Business Unit, a part of JBS USA Food Co. dba Swift Beef Company.

10         11.     Plaintiff started at JBS/Swift as Technical Services Manager and in 2017 was

11 promoted to Operations Manager. Plaintiff received exemplary performance reviews until he

12 began complaining to his superiors concerning what Plaintiff believed were violations of law.

13         12.     As Operations Manager, Plaintiffs job was to reduce labor costs and

14 manufacturing costs. In 2017, the facility that Plaintiff was managing was having serious

15 problems with employee timekeeping, including tracking employee overtime, lunches and breaks.

16 The timekeeping system that JBS/Swift was using allowed for instances of inaccurate timekeeping

17 and either paying employees for time that they did not work, or failing to pay employees for time

18 that they did work. Plaintiff brought up this issue to his superiors and identified that there was a

19 potential for liability due to the timekeeping inaccuracies.

20         13.     Plaintiffs superiors ignored his complaints, even after JBS employees filed a class

21 action against JBS for various wage and hour issues in a sister facility located in Sante Fe Springs,

22 California. Plaintiff advocated that JBS/Swift should install automatic door scanners on the

23 production floor, so that employees were required to swipe their badge every time they entered

24 and left. This would allow the company to track employee time and to match the employees'

25 reported time on their timecards to their actual time in the facility. JBS/Swift refused to do so,

26 which was becoming an issue because after the class action, in early 2020, Plaintiff was still

27 dealing with employees who claimed to be missing lunches and breaks and who were changing

28 their timekeeping records to make it appear that they had taken a lunch/break when that had not


                                                       3
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 1 occurred. However, because the timekeeping system was unreliable, there was no way to

 2 determine whether or not those employees were getting timely lunches/breaks. Plaintiff believed

 3 that JBS/Swift was in violation of the wage and hour laws again and reported it to the plant

 4 General Manager and to Human Resources.

 5           14.    Within weeks of Plaintiffs complaints, on March 10, 2020, Plaintiff was given a

 6 written warning and suspended. Defendants fabricated the reason for the written warning and

 7 made it appear as if Defendants were the ones who discovered the wage and hour issues at

 8 Plaintiffs plant and blamed Plaintiff for the timekeeping issues. Plaintiff was fired on March 13,

 9 2020, for allegedly "intimidating" and "threatening" his employees.

10           15.    Around the same time, between 2019 and 2020, Plaintiff noticed that JBS/Swift

11 was beginning to terminate all employees who came from the Canada unit and who were of

12 Canadian national origin. Between 2019 and 2020, other than Plaintiff, JBS/Swift had terminated

13 every single employee who was of Canadian national origin.

14                                      FIRST CAUSE OF ACTION

15                         VIOLATION OF LABOR CODE SECTION 1102.5

16                                        (Against all Defendants)

17           16.    Plaintiff hereby incorporates by reference each and every preceding paragraph ·of

18 this Complaint as though fully set forth herein.

19           17.    Labor Code section 1102.5 provides that an employer may neither retaliate against

20 an employee who reports to a governmental agency or to the employer itself his reasonable belief

21 that the employer has violated state or federal laws nor may the employer retaliate against the

22 employee who refused to participate in an activity that the employee reasonably believes would

23 result in violation of state or federal law.

24           18.    California Labor Code section 1102.5, subdivision (b ), provides in pertinent part
25 that an employer, or any person acting on behalf of the employer, shall not retaliate against an
26    employee for disclosing information, or because the employer believes that the employee
27 disclosed or may disclose information, to a person with authority over the employee or another

28 employee who has the authority to investigate, discover, or correct the violation or noncompliance,


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 1 if the employee has reasonable cause to believe that the information discloses a violation of state

 2 or federal statute, or a violation of or noncompliance with a local, state, or federal rule or

 3 regulation.

 4          19.       Further, section 1102.5 provides: (c) An employer may not retaliate against an.

 5 employee for refusing to participate in an activity that would result in a violation of state or federal

 6 statute, or a violation or noncompliance with a state or federal rule or regulation; ( d) An employer

 7 may not retaliate against an employee for having exercised his or her rights under subdivision (a),

 8 (b ), or ( c) in any former employment.

 9          20.       Plaintiff had a reasonable belief that the employer, JBS/Swift, violated state or

10 federal wage and hour laws when Plaintiff discovered that some of his subordinates were not

11 taking their lunches/breaks and/or that employee time was being mis-recorded. Plaintiff

12 complained to Defendants about the various violations of federal and state laws. Plaintiff refused

13 to participate in the activity that he and Defendants reasonably believed would result in violation

14 of state or federal law.

15          21.       Subsequently, Defendants retaliated against Plaintiff for his reporting of, and

16 refusal to participate in, such illegal activities by management, and for complaining about such

17 illegal conduct to management.

18          22.       As a direct and proximate result of the conduct of Defendants, and each of them,
19 Plaintiff has suffered lost wages and other benefits of employment in an amount to be proven at

20 trial.

21          23.       As a further direct and proximate result of the acts of Defendants, and each of
22 them, Plaintiff has sustained emotional distress and pain and suffering all in an amount to be

23 proven at trial.

24          24.       Plaintiff alleges that the conduct of Defendants, and each of them, was malicious,
25 oppressive or fraudulent, or taken in conscious disregard of rights, health, safety, and economic

26 condition of Plaintiff, thereby entitling Plaintiff to an award of punitive damages under Civil Code

27 Section 3294.

28                                     SECOND CAUSE OF ACTION

                                                         5
                                                   COMPLAINT
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 1                               NATIONAL ORIGIN DISCRIMINATION

 2                                         (Against all Defendants)

 3          25.       Plaintiff hereby incorporates by reference each and every preceding paragraph of

 4 this Complaint as though fully set forth herein.

 5          26.       Plaintiff is entitled to the protections of the Fair Employment and Housing Act

 6 because of his national origin.

 7          27.       Government Code 12940(a) precludes an employer from discriminating against an

 8 employee on the basis of national origin.

 9          28.       In 2019, and through 2020, JBS/Swift began terminating all employees who were

10 transferred to the Riverside unit from Canada and who were of Canadian national origin, including

11 Plaintiff.

12          29.       JBS/Swift then terminated Plaintiffs employment due to the fact that he was of

13 Canadian national origin.

14          30.       As a direct and proximate result of the conduct of Defendants, and each of them,

15 Plaintiff has suffered lost wages and other benefits of employment in an amount to be proven at

16 trial.

17          31.       As a further direct and proximate result of the acts of Defendants, and each of

18 them, Plaintiff has sustained emotional distress and pain and suffering all in an amount to be

19 proven at trial.

20          32.       Plaintiff alleges that the conduct of Defendants, and each of them, was malicious,

21 oppressive or fraudulent, or taken in conscious disregard of rights, health, safety, and economic

22 condition of Plaintiff, thereby entitling Plaintiff to an award of punitive damages under Civil Code

23 Section 3294.

24                                      THIRD CAUSE OF ACTION

25   FAILURE TO TAKE STEPS TO PREVENT DISCRIMINATION, HARASSMENT AND

26                                             RETALIATION

27                                         (Against all Defendants)

28          33.       Plaintiff hereby incorporates by reference each and every preceding paragraph of

                                                        6
                                                   COMPLAINT
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 1 this Complaint as though fully set forth herein.

 2         34.     Government Code section 12940, subdivision (k),.states that it is an unlawful
 3 employment practice for an employer to "fail to take all reasonable steps necessary to prevent

 4 discrimination from occurring."

 5          35.    The facts alleged in this Complaint constitute violations of the Fair Employment

 6 and Housing Act for failure to take all reasonable steps necessary to prevent discrimination,

 7 harassment, and retaliation from occurring in violation of Government Code section 12940,

 8 subdivision (k), of the Fair Employment and Housing Act.

 9          36.    As a direct and proximate result of Defendants' discrimination in the form of

10 failing to take all reasonable steps to prevent the discrimination, harassment, and retaliation

11 described in this Complaint, Plaintiff has suffered lost wages and other benefits of employment in

12 an amount to be proven.

13          37.    As a further direct and proximate result of Defend;mts' acts, Plaintiff has sustained

14 emotional distress and pain and suffering all in an amount to be proven.

15          38.    Plaintiff alleges that the conduct of Defendants, and each of them, was malicious,

16 oppressive or fraudulent, or taken in conscious disregard of rights, health, safety, and economic

17 condition of Plaintiff, thereby entitling Plaintiff to an award of punitive damages under Civil Code

18 Section 3294.

19                                   FOURTH CAUSE OF ACTION

20                                           RETALIATION

21                                      (Against all Defendants)

22          39.    Plaintiff hereby incorporates by reference each and every preceding paragraph of

23 this Complaint as though fully set forth herein.

24          40.    Government Code section 12940, subdivision (h), _provides that it is an unlawful
25   employment practice for an employer or any person, to discharge, expel, or otherwise discriminate
26   against any person because the person has engaged in protected activity. Government Code

27 section 12940, subdivisions (h) and (m)(2), were in effect, and prohibited an employer from

28 retaliating against an employee for opposing practices prohibited by the Fair Employment and


                                                      7
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 1 Housing Act.

 2           41.     The facts alleged in the above paragraphs constitute violations of the Fair

 3 Employment and Housing Act, Government Code section 12940, subdivisions (f), (h), and (m), in

 4 that Defendants retaliated against Plaintiff on the basis of his national origin.

 5           42.     Plaintiff engaged in several separate protected activities, namely, opposing

 6 employment practices prohibited by the Fair Employment and Housing Act.

 7           43.     As a direct and proximate result of the employment discrimination described in this

 8 cause of action, Plaintiff has suffered lost wages and other benefits of employment in an amount to

 9 be proven at trial.

10           44.     As a further direct and proximate result of Defendants' unlawful acts, plaintiff has

11 sustained serious personal injuries, including, but not limited to, emotional distress, pain and

12 suffering, all in an amount to be proven at trial.

13           45.     Plaintiff alleges that the conduct of Defendants, and each of them, was malicious,

14 oppressive or fraudulent, or taken in conscious disregard of rights, health, safety, and economic

15 condition of Plaintiff, thereby entitling Plaintiff to an award of punitive damages under Civil Code

16 Section 3294.

17                                     FIFTH CAUSE OF ACTION

18                 WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

19                                        (Against all Defendants)

20           46.     Plaintiff hereby incorporates by reference each and every preceding paragraph of

21 this Complaint as though fully set forth herein.

22           47.     Section 8 of the California Constitution and California Government Code, section

23    12920, et. seq. make it a civil right to be free from discrimination, including discrimination based

24 on national origin, retaliation and/or hostile work place, and Civil Code, section 51, prohibit and

25 render actionable any conduct of discrimination or retaliation against any individual/employee

26 because of the individual's national origin, retaliation and/or hostile work place.

27           48.     The facts alleged in the above paragraphs establish that Defendants, and each of

28 them, engaged in conduct that violated the public policies set forth in the various statutes and


                                                        8
                                                  COMPLAINT
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 1 constitutional provisions.

 2          49.       As a direct and proximate result of the conduct of Defendants, and each of them,

 3 Plaintiff has suffered lost wages and other benefits of employment in an amount to be proven at

 4 trial.

 5          50.       As a further direct and proximate result of the acts of Defendants, and each of

 6 them, Plaintiff has sustained emotional distress and pain and suffering all in an amount to be

 7 proven at trial.

 8          51.       Plaintiff alleges that the conduct of Defendants, and each of them, was malicious,

 9 oppressive or fraudulent, or taken in conscious disregard of rights, health, safety, and economic
10 condition of Plaintiff, thereby entitling Plaintiff to an award of punitive damages under Civil Code

11 Section 3294.

12                                      SIXTH CAUSE OF ACTION

13                    VIOLATION OF THE UNFAffi BUSINESS PRACTICES ACT

14                                         (Against all Defendants)

15          52.       Plaintiff hereby incorporates by reference each and every preceding paragraph of

16 this Complaint as though fully set forth herein.

17          53.       The Business & Professions Code Section 17200 prohibits any and all means or

18 acts of unfair competition, including "any unlawful, unfair or fraudulent business act or practice

19 and unfair, deceptive, untrue or misleading advertising and any act prohibited by [law]."

20          54.       Defendants, and each of them, engaged in unfair competition by conduct that

21 included unlawful, unfair, fraudulent, deceptive, untrue or misleading statements and

22 certifications, and other acts prohibited by law, as described in the above paragraphs. Plaintiff

23 alleges that Defendants' violations of both Section 8 of the California Constitution, Government

24 Code, section 12920, et. seq., violations of Government Code section 12920, et. seq., and Civil

25 Code, section 51, constitute unlawful and unfair business practices.

26          55.       As a direct and proximate result of the conduct of Defendants, and each of them,

27 Plaintiff has suffered lost wages and other benefits of employment in an amount to be proven at

28 trial.


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 1          56.       As a further direct and proximate result of the acts of Defendants, and each of

 2 them, Plaintiff has sustained emotional distress and pain and suffering all in an amount to be

 3 proven at trial.

 4          57.       Plaintiff alleges that the conduct of Defendants, and each of them, was malicious,

 5 oppressive or fraudulent, or taken in conscious disregard of rights, health, safety, and economic

 6 condition of Plaintiff, thereby entitling Plaintiff to an award of punitive damages under Civil Code

 7 Section 3294.

 8                                    SEVENTH CAUSE OF ACTION

 9                                       HOSTILE WORKPLACE

10                                         (Against all Defendants)

11          58.       Plaintiff hereby incorporates by reference each and every preceding paragraph of

12 this Complaint as though fully set forth herein.

13          59.       California Constitution, Art. 1, Sections 7, 8, and 15, California Government Code,

14 section 12920, et. seq., and Title VII, confers to every employee the fundamental right to work in a

15 harassment free workplace. Work harassment is unwelcome conduct that is linked to workplace

16 conduct, which deprives the victim of an employment benefit. (Government Code section 12940,

17 subd. G).) Any employee of the employer who perpetrates hostility against another employee is

18 individually liable for harm they cause. (Government Code section 12940, subd. G)(3).)

19          60.       The facts alleged in this Complaint constitute a hostile work environment violation,

20 in that the defendants, and each of them, subjected Plaintiff to harassment thereby creating a

21 hostile, offensive and intimidating work environment that was sufficiently severe to alter the

22 benefits of the workplace. Defendants' hostile conduct against Plaintiff was based on his national

23 origin, protected activity, and/or in retaliation.

24          61.       As a direct and proximate result of the conduct of Defendants, and each of them,

25 Plaintiff has suffered lost wages and other benefits of employment in an amount to be proven at

26 trial.

27          62.       As a further direct and proximate result of the acts of Defendants, and each of

28 them, Plaintiff has sustained emotional distress and pain and suffering all in an amount to be



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 1 proven at trial.

 2          63.       Plaintiff alleges that the conduct of Defendants, and each of them, was malicious,

 3 oppressive or fraudulent, or taken in conscious disregard of rights, health, safety, and economic

 4 condition of Plaintiff, thereby entitling Plaintiff to an award of punitive damages under Civil Code

 5 Section 3294.

 6                                                  PRAYER

 7          WHEREFORE, plaintiff LANE STOLL prays for judgment against defendants, and each

 8 of them, as follows:

 9          I.        As to all causes of action, order Defendants to pay compensatory damages to

10 Plaintiff for lost earnings and other benefits of employment, according to proof, with interest at the

11 applicable legal rate.

12          2.        As to all causes of action, order Defendants to pay compensatory damages to

13 Plaintiff to compensate for the emotional distress she suffered as a direct and proximate result of

14 Defendants' unlawful conduct, according to proof.

15          3.        As to all causes of action, for prejudgment and post-judgment interest.

16          4.        As to all causes of action, for attorneys' fees, witness fees and costs of litigation

17 incurred by Plaintiff.

18          5.        As to all causes of action, order Defendants to pay punitive damages to Plaintiff to

19 compensate for the malicious, fraudulent and oppressive conduct of Defendants, according to

20 proof.

21          6.        As to all causes of action, enjoin Defendants, their successors, agents, employees

22 and all other persons acting on its behalf, to cease and desist from refusing to comply with the

23 statutory provisions described above.

24          7.        As to all causes of action, order such other and further relief as the Court may deem

25 just and proper, including attorney fees and costs, and pre-judgment interest.

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                                                       11
                                                    COMPLAINT
                                                                                                 Exhibit A, Page 23
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 1 DATED: November 16, 2020
                                   LAW Omas OF .REGINA SPURLEY
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 3

 4
                                   By:
 5
                                         Attorneys for Plaintiff LANE STOLL
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                                     COMPLAINT
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                                        Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 26 of 42FORPage
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
   Regina Spurley / Law Offices of Regina Spurley
                                                                                                                IDONLY
                                                                                                         COURT USE #:26
   300 N. Lake Ave., Suite 1100
   Pasadena, CA 91101

                         TEL.EPHONE NO.:.                      310~285-8595                    FAXNO. (Optional):   310-300-2112
                                                                                                                                                                   FILED
                                                                                                                                                             Superior Court of California
          ATTORNEY FOR (Name):                                  Lane Stoll                                                                                      County of Riverside
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE                                                                                                                 11/17/2020
   STREET ADDRESS: 4050 Main Street                                                                                                                             L. Mercado~Burni
    MAILING ADDRESS:                                                                                                                                             Electronically Filed
  CITY AND ZIP CODE:                               Riverside 92501
             BRANCH NAME:                          Historic Courthouse
  CASE NAME:
   Lane Stoll v. JBS USA Food Co. dba Swift Beef Company, et al.
                  CIVIL CASE COVER SHEET                                                        Complex Case Designation                            CASE NUMBER:

  [K]                                                                                        D                           D                                              CVRl2000256
                     Unlimited                                      D        Limited                   Counter                    Joinder
                     (Amount                                                 (Amount
                                                                                            Filed with first appearance by defendant                JUDGE:
                     demanded                                                demanded is
                                                                                                (Cal. Rules of Court, rule 3.402)    DEPT.:
                     exceeds $25,000)                                        $25,000)
                                                                              Items 1-6 below must be completed (see mstruct,ons on page 2),
    1.. Check one box t>elow for the case type thc3t best describes thi$ case:
            Auto Tort                                                                       Contract                                            Provisionally Complex Civil Litigation
            CJ                 Auto (22)                                                   D         Breach of contract/warranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
            CJ                 Uninsured motorist (46)                                     D         RUie 3.740 collections (09)                CJ      Antitrust/Trade regulation (03)
            Other PI/PD/WD.(Pei'sonal Injury/Property                                      D         Other collections (09)                     □· Construction defect(10)
            Damage/Wrongful Death) Tort                                                    D         Insurance coverage (18)                    CJ      Mass tort (40)
            CJ                 Asbestos (04)                                               ,-----,
                                                                                           L-J other contract (37)
                                                                                                                                                CJ      Securities litigation (28)
            CJ                 Product liability (24)
                                                                                            Real Property                                       D       Environmental/Toxic tort (30)
            CJ                 Medical malpractice (45)                                                                                         D       Insurance coverage claims arising from the
                                                                                           D         Eminent domain/Inverse
                                                                                                                                                        above listed provisionally c;omplex case
            CJ                 Other PI/PD/WD (23)                                                   condemnation (14)
                                                                                                                                                        types (41)
            Non-PI/PD/WD (Other) Tort                                                      D         Wrongful eviction (33)                     Enforcement of Judgment
           CJ                 Asbestos (04}                                                CJ        Other real property (26)                   D       Enforcement of Judgment (20)
           CJ                 Product liability (24)                                        Unlawful Detainer
                                                                                                                                                Mis.cellarieous Civil Complaint
           D                  Medical malpractice (45)                                     D         Commercial (31)
                                                                                                                                                CJ      RICO(27)
           CJ                  Other PI/PD/WD (23)                                         D         Residential (32)
                                                                                                                                                CJ      other complaint (not specified above) (42)
           CJ                  Product liability (24)                                      D         Drugs{38)
                                                                                                                                                Miscellaneous CivilPetltion
           CJ                  Medical malpractice (45)                                    Judicial Review
                                                                                                                                                c:J     Partnership arid corporate governance (21.)
           CJ                  Other PI/PD/WD (23)                                         D         Asset forfeiture (05)
            Employment                                                                     D         Petition re: arbitration award (11)        CJ      Other petition (not specified above) (43)
           [R]                 Wrongful termination (36)                                   D         Writ of mandate (02)
           D                   Other employment (15)                                       c:J       Other judicial review (39)
 2.         This case D       is     0 is not complex under rule 3.400 of the                                                California Rules of Court. If the case is complex, mark the
           factors requiring exc~ptional judicial management:
           a.          D
                     Large number of separately represented parties       d. Large riumber of witnesses                 D
           b.          D
                     txtensive motion practice raising difficult or novel e,                                            D
                                                                             Coordination with related actions pending in one or more
                     issues that will be time-consuming to resolve           courts in other counties, states, or countries, or in a federal
    c.                 D
           Substantial amount of documentary evidence                        court
                                                                   f.                                                   D
                                                                             Substantial postjudgmentjudicial supervision
 3. Remedies sought. (check alrthat apply).' a.                                            00
                                                     rnonetary b. [KJ nonmonetary; declaratory or injunctive relief c.:;. QQ punitive
 4. Number of causes ofactiori (specify): 7, wrongful terrnination, discrimination, retaliation, 1102.5, unfair business practices
5. This case D       is   0 is npt a.class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use Io.
Date: November 17, 2020                         ·                 ·                         · · , ·
Regina Spurley
                                                              . {TYPE OR PRINT NAME)
                                                                                                               N
                                                                                                                                            ►       /                                               OR PARTY)


    • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
   • File this cover sheet in addition to any cover sheet required by local court rule.
   • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action .or proceeding.                                           ·
   • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                                       Page1 of2
Forin.Adopled for Mandatory Use                                                                                                                           Cal. Rules of Court, ·rules 2.30, 3.220, 3.400-3,403, 3.740;
1,,,-t;..,:.,.1r:,..,,, .. ,;,;1,..,f"',..1;f,:,,.,;.;_,...                                  CIVIL CASE COVER SHEET                                                                         Exhibit A, Page 25
                   Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 27 of 42 Page ID #:27                                                CM-010
                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and others Filing First Papers. If you are filing a first paper (for .example, a complaint) in a Civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used .to compile
 statistics aboutthe types and numbers of cases fiieo, You must complete items 1 through 6 on.the sheet. In item 1, you mustchec:k
one box for the case type that best describes the case. If the case fits both a .general ·and a more specific type .of case listed. in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary caµse of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 oJthe California Rules of Court.                                                     ·
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
 in .a sum stated to be certain that is not more than $25,000, exclusive of interest and attoniey's fees, arising from a transaction in whic:h
 property, services, or money was acquired on credit A collections case does not include an action seeking the following: (1) tori
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification ofa case as a rule 3. 740 collections case on this form means that it will be exempt from the generai
timEHor-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a Judgment in rule 3. 740;
To Parties iri Complex Cases. In complex cases only, parties must also use the G.ivil Case Cover Sheet to designate whethe_r the!
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. lfa plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A d~fencl.ant mc1y file and serve no later than the tirne. 9f _it_s first appearanct::l a Joinder in the
 plaintiff's designation, a counter-designation that the case is not complex, or, if t_he plaintiff has made no designation,. a designation that
the case is complex.                                        CASE TYPES AND EXAI\/IPLES
   Auto_ Tort                                     Contra.ct                                           Provisionally Complex Civil Litigation (Cal.
      Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules.3.400-3.403)             ·
             Damage/Wrongful Death                        Breac_h of Rental/Lease             . __            Antitrustl.Trade Regulation (03)
         Uninsured Motorist (46). (ifthe                        Contract(not unla~f~I detainer                Construction Defect (10)
          case involves an uninsured                                -or wrongful ev1ct1on)                    Claims.lnvoiving Mass.Tort (40)
          motorist claim subject to                       Contra~IAl'."arranty Breach--Se_ner                 Securlties Litigation (28)
          arbitration check this item                      _ Plaintiff (not f,:aud or negligence)             Envfronmentalrroxic Tort (30)
          instead ofAuto)                                 Negligent Breach of Contract/                       Insurance coverage Claims
   Other PI/PD/WD (Personal lnji.Jryl                           WarrarJty                                           (arising from provisionally complex
   Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                         case type listed above) (41)
   Tort                                               Collections (e.g,, money .owed, open            Enforcement of Judgment
        Asbestos (04)                                     book accounts) (09)            _ .               Enforcement of Judgment (20)
           Asbestos Property Damage                       Gollect1on Case~Seller Pla1nt1~                      Abstract of Judgment (Out of
           Asbestos Pe'rsonal Injury/                     C>ther Promissory Note/CollectIons                          county)
                  Wrongful Death                                Case                     ..               Confession of Judgment (non-
        Productliability (not asbestos or             Insurance Coverage (not prov1s1ona/ly                     dorriestic relations)
            toxic/environinental) (24)                    complex) (18) .                                 Sister State Judgment
        Medical Malpractice (45)                          Auto SLJbrogatJon                               Administrative Agency Award
             Medical Malprci¢tice~                        Other Coverage                                       (not unpaid taxes)
                   Physicians & surgeons             Other Contract (37)                                   Petition/Certification Of Entry of
        Other Professional Health Care                    Contractual Frauq                                     Judgment on Unpaid Taxes
               . Malpractice      -- .                    Other Contract Dispute                           Ot_her Enforcement of Judgment
        Other Pl/PD/WO (23)                       Real P:operty         .                                         case.
             Premises Liability (e.g. slip           Eminent Domain/Inverse                           MisceUaneous Civil Complaint
                   and fall) - - ' - .                    Condemna_tion (14)                               RICO (27)
             Intentional Bodily Injury/PO/WO         Wrongful Ev1ctIon (33)            .    .              Other complaint (not specified
                    (e.g., assault, vandalism)       Other ~eal Pro pert~ (e.g., quiet title). (26)              above) (42)
             Intentional Infliction of                    Wnt of Po_ssess1on of Real Property                    Declaratory Relief Only
                · Emotional Distress                      Mortgage Foreclosure                                   Injunctive Relief Only (non-
             Negligent Infliction of                      Quiet Title                                                  hara,ssment)
                    Emotional Distress                    Otl'\er .Real Property (not eminerJf                   Mechanics: Lien
             Other Pl/PD/WO                              domain, landlord/tenant, or                             Other Commercic1I Cornplain,t
  Non-PIIPO/WD (Other) Tort                               foreclosure)                                                 Case (npn-fortln,onacomplex)
       Business Tort/Unfair Business              Unlawful Detainer                                              Other Civil Complaint
           Practice,(07)                             Commercial (31)                                                   (non-tort/non-complex)
       Civil Rights (e,g., discrimination,           Residentiai (32)                                 Miscellaneous Civil .Petition
              false arrest) (not civil               Dr,ugs (38) (if/he case involves illegal              Partrership and Corporate
              harassment) (08)                       drugs, check this item; otherwise,                         Governance (21)
       Defamaiion (e.g:, slander, libei)             report_ as Commercialot Residential)                  Other Petition (not specifiecl
               (13)                        ·      judicial Review                                               above) (43)        ·
       Fraud (16)                                    Asset Forfeiture (05)                                      _Civil Harassment
       Intellectual Property (19)                    Petition Re: Arbitration Award (11 j                       Workplace Violence
       Professional Negligence (25)                  Writ of Mandate (02)                                       Elder/Dependent Adult
           Legal Malpractice           ·                 Writ-Administrative Mandamus                                 Abuse
           Other Professional Malpractice                ·writ-Mandamus on Limited Court                        Election Contes.t
                 (not medical or legal)                       Case Matter                                       Petition for Name Change
       Other Non-PIIPD/.1/VD tort (35)                   Writ-Other. Limited Court Case                         Petition for Relief From Late
 .Employment                                                  Review                                                  Claim
       wrongful Jermlnation (36)                     Other Judicial Review (39)                                 Other Civil Petition
       either Employment (1 5)                           Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                                Commissioner Appeals
CM 0010 (Rev. July 1, 2007)                                                                                                                   Page 2.of 2
                                                         CIVIL CASE COVER SHEET
                                                                                                                                    Exhibit A, Page 26
                     Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 28 of 42 Page ID #:28

                                               SUPERIOR COURT OF CALIFORN'iA, COUNTY                        OF   RIVERSIDE

 0      BANNING 3.11 E. Ramsey St., Banning, CA 92220                              0     MURRIETA 30755-D Auld Rd., Suite 1226, Murrieta, CA 92563
 0      BLYTHE 265 N. Broadway, Blythe, CA 92225                                   0     PALM SPRINGS 3255.E. Tahquitz Canyon Way, Palm Springs, CA.()2262
 0      HEMET 880 N. State St., Hemet, CA 92543                                    [El   RiVERSIDE 4050 Main St., Riverside, CA 92501
 0     .MORENO VALLEY 13800 Heacock St., Ste. D201,                                0     TEMECULA 41002 County. Center Dr., #100, Temecula, CA 92591
       Moreno Valley, CA 92553
                                                                                                                                                                             Rl-030
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. ·State Bar Number and Address)                                                            'FOR GOU.RT US_E ONLY
  Regina Spurley (SBN 256908)
  Law Offices of .Regina Spurley
  300 N. Lake Ave., Suite 1100
  Pasadena, California                                                                                                              FILED
                                                                                                                              Sup~rior Court of Califomia
               TELEPHONE NO:      31 Q-285-8595           FAX NO. (Optional):   31-0-300-2112                                    County of Riverside
                            regina@raafirm,COm
     E-MAIL ADDRESS (Optional):                                                                                                       11/17/2020
        ATTORNEY FOR/Name): Lane Stoll                                                                                            L Mercado-Bumi
                                                                                                                                  Electronically Filed
              PLAINTIFF/PETITIONER:       Lane Stoll


        DEFENDANT/RESPONDENT:             JBS USAF9od Co. dba Swift Beef Company, et al.                              CASE NUMBER:.
                                                                                                                                           CVRl2000256
                                                                     CERTIFICATE OF COUNSEL

 The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
 specified below:

      18]     The action arose in the zip. code. of:                            92518



      D       The action concerns real property located in the zip code of:


      lgj     The Defendant resides in the zip code of:                                  92518




For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 1,0015 at www,riverside,courts.ca.gov.


I certify (or declare) under penalty of perJl.lry uncler the laws of the State of California that the foregoing is
true and correct.           ·



     Date November 17, 2020




     Regina Spurley
        (TYPE OR PRINT NAME OF I!] ATTORNEY □ PARTY MAKING-DECLARATION)
                                                                                           ►



                                                                                                                                                                       Pa e 1 of 1
Approved ror Mandalory Use                                                                                                                                          -Local Rule 1.0015
Riverside Superior Court
                                                                       CERTIFICATE OF COUNSEL                                         riv~rside;courts.c8.gov/localfrms/localffms.shtrt11
Rl-030 [Rev, 08/15/13]


                                                                                                                                                      Exhibit A, Page 27
                         Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 29 of 42 Page ID #:29


                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                              Historic Court House
                                                      4050 Main Street, Riverside, CA 92501

   Case Number:                  CVRl2000256

   Case Name:                    STOLL vs JBS USA FOOD CO



                                                  NOTICE OF DEPARTMENT ASSIGNMENi

        The above entitled case is assigned to the Honorable Judge Daniel Otlolia in Department 4 for All PurJ?oses.

        Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

        The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside Superior Court
        Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3:00 p.m. on the
        court day immediately before the hearing at http://riverside.courts.ca.gov/tentativerulings.shtrnl. If you do not have
        internet access, you may obtain the tentative ruling by telephone at (760) 904-5722.

        To request oral argument, you must ( 1) notify the judicial secretary at (760) 904-5722 and (2) inform all other
        parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument is made by
        4:30 p.m., the tentative ruling will become the final ruling on the matter effective the da_te of the hearing.

        The filing party shall serve a copy of this notice on all parties.


      r--·--:-,           Interpreter seNices are available upon request. If you need an interpreter, please complete and submit the onlipe
      la--·--i))i:   1
                    ;)
                          Interpreter Request Form (https://riverside.courts.ca.gov/Divisions/lnterpreterlnfo/ri-in007.pdf) or contact the clerk's
                          office and verbally request an interpreter. All requests must be made in advance with as much notice as possible,
                          and prior to the hearing date in order to secure an interpreter.


      ~
                          Assistive listening systems, computer-assisted real time captioning. or sign language interpreter services are
                          available upon request if at least 5 days notice is provided. Contact the Office of the ADA_ Coordinator by calling
                          (951) 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30.pm or by emailing ADA@riverside.courts.ca.gov
                          to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order (form MC-
                          410) must be submittedwheh requesting an accommodation. (Civil Code section 54.8.)


       Dated: 12/07/2020                                                      W. SAMUEL HAMRICK JR.,
                                                                              Court Executive Officer/Clerk of Court



                                                                              by:

                                                                                    L. Mercado-Bumi, Deputy Clerk
cp;oo,v:v
(Rev. Jil.10lit9)




                                                                                                                                    Exhibit A, Page 28
         Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 30 of 42 Page ID #:30




              SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                 Historic Court House
                                         4050 Main Street, Riverside, CA 92501

Case Number:         CVRl2000256

Case Name:           STOLL vs JBS USA FOOD CO


Regina Spurley
300 N. LAKE AVE, SUITE 1100
PASADE~A, CA 91101



                                 NOTICE OF CASE MANAGEMENT CONFERENCE


  The Case Management Conference Is scheduled as follows:


                        Hearina Date                     Hearing Time                      Oeoartment
                          06/07/2021                        8:30AM                        Department 4
                Location of Hearing:
                                       4050 Main Street, Riverside, CA 92501


  No later than 15 calendar days before the date set for the case management conference or review, each party must
  file a case management statement and serve it on all other parties in the case. CRC, Rule 3.725.

  The plaintiff/cross-complainant shall serve a copy of this notice on all defendants/cross-defendants who are named
  or added to the complaint and file proof of service.

  Any disqualification pursuant to CCP Section 170.6 shall be filed in accordance with that section.


              Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
 (~•));f"""   Interpreter Request Form (https://riverside.courts.ca.gov/Divisions/lnterpreterlnfo/ri-in007.pdf) or contact the clerk's
              office and verbally request an interpreter. All requests must be made ln advance with as much notice as possible,
              and prior. to the hearing date in order to secure an interpreter.


 ~
              Assistive listening systems, computer-assisted real time captioning, or sign language interpreter services are
              available upon request if at least 5 days notice is provided. Contact the Office of the ADA Coordinator by calting
              (951) 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30 pm or by emailing ADA@riverside.court~.i::a.gqy
              to request an accommodation. A Request for Accommodauons by Persons With Disabilities and Order (form MC-
              410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)




                                                                                                                          Exhibit A, Page 29
                  Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 31 of 42 Page ID #:31




                                                  CERTiFICATE OF MAILING
       i certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
       party to this action or proceeding. In my capacity, I am familiar with the practices and procedures used in
       connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
       Superior Court. Outgoing mail is delive_red to and mailed by the United States Postal Service, postage prepaid, the
       same day in the .ordinary course of business. I certify that l served a copy of the Notioe of Case Management
       Conference on this date, by depositing said copy as st::ited above.


       Dated: 12/07/2020                                        '                        .
                                                                Court Executive Officer/Clerk of Court


                                                                by: NO SIGNATURE ON FILE
                                                                    ., Deputy Clerk
Cl-NOCMC
(Rev. 03106/201




                                                                                                                 Exhibit A, Page 30
                  Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 32 of 42 Page ID #:32
                                                                                                                                                CM-110
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number. and address):
                                                                                                                     FOR COURT USE ONLY
 Regina Spurley (SBN 256908)
 Law Offices of Regina Spurley
 300 N .. LakeAve., Suite 1100
 Pasadena, California 91101

                        310-285-8595
            TELEPHONE NO.:                 FAX NO. (Optional): 310-300-2112

                        regina@raafirm.com
 E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name}: Lane Stoll
                                                                                                                        FILED
                                                                                                                 Superior Court of California
SUPERIORCOURT OF CALIFORNIA, COUNTY OF .RIVERSIDE                                                                   County of Riverside
 STREET ADDRESS: 4050 Main Street                                                                                          5/21/2021
 MAILING ADDRESS:                                                                                                      J. Hendrickson
c1TYANDZIPC6DE:         Riverside 92501                                                                                Electronically Filed
     BRANCHNAME:        Historic Court House
          PLAINTIFF/PETITIONER:         L,ane Stoll
 DEFENDANT/RESPONDENT:                  JBS USA Food Co., et al.

                                 CASE MANAGEMENT STATEMENT                                            CASE NUMBER:

                        [K:l                                                                          CVRl2000256
{Check one):                     UNLIMITED CASE             D       LIMITED CASE
                                 (Amount demanded                   (Amount demanded is $25,000
                                 exceeds $25,000)                   or less)

A CASE MANAGEMENTCONFERENCE is scheduled as follo1,VS:
Date: Ju11e 7, 2021 June 8, 2021 Time: 8:30 am   Dept.: 4                                     Div~:                        Room:
Address of court (if different from the address above):

[R]        Notice of Intent to Appear by Telephone, by (name): Regina Spurley
                INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1. Party or parties (answer one):
     a. [R]       This statement is submitted by party (name): Lane Stoll
     b.     D     This statement is submitted jointly by parties (names):
2. Complaint and cross~complaint (to be answered by plaintiffs and cross-complainants only)
     a. The complaint was filed on (date): November 17, 2020
   b. D     The cross-complaint, if any, was filed on (date):
3. Service (to be answered by plaintiffs and cross-complainants only)
   a. D     All parties named in.the complaint and cross-complaint have been served, have appeared, or have been dismissed,
     b.    [R]    The following parties named in the complaint or cross-complaint
                  (1)    [KJ have not been served (specify names and explain why riot):
                                  JBS USA Food Co., et al., due to pandemic, offices of agent for service of process have been physically closed
                  (2)    D       have been served but have not appeared and have not been dismissed (specify names):


                  (3)    D       have had a default entered against them (specify names):

     c.    D      The following additional parties may be .added (specify names, nature ofinvolvement in case, and date by which
                  they may be served):




4. Description of case
    a.      Type of case in [KJ complaint               CJ cross-complaint            (Describe, including causes of action):
            wrongful termination, discrimination, failure to take steps to prevent discrimination, hostile workplace, whistlesblower protection,
            unfair business practices

                                                                                                                                                 Paga 1 of 5

Form Adopted for Mandatory Use                                                                                                            Cal. Rules of Court,
Judicial Council of California
                                                      CASE MANAGEMENT STATEMENT                                                            rules 3. 720-3. 730
CM-110 [Rev. July 1, ·2011 J                                                                                                              www.courts,ca.gov·




                                                                                                                                     Exhibit A, Page 31
                   Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 33 of 42 Page ID #:33
                                                                                                                                           CM-110
          PLAINTIFF/PETITIONER:      Lane Stoll                                                      CASE NUMBER:

  DEFENDANT/RESPONDENT: JBS USA Food Co., et al.                                                     CVRl2000256

4. b.       Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
            damages claimed, including medical expenses to date [indk;ate source and amount], estimated future medical expenses, lost
            earnings to date, and estimated future lost earnings. If equitable reliefis sought, describe the nature of the relief.)
            Plaintiff worked for defendant for several years without any issues until Plaintiff began reporting what he believed to be
            violations of law. Further, Plaintiff, a Canadian native,. and other Canadian co-workers, who were recruited from Canada to work
            in the US facility were all terminated around the same time on the basis of their national origin.

     CJ (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
   a. The party or parties request CK] a jury trial    CJ a nonjury trial. {If more than one party, provide the name of each party
      requesting ajury trial):


6. Trial date
     a.    D       The trial has been .set for (date):
     b.    [TI     No trial date has been set. This case will be ready for trial within 12 months of the ·date of the filing of the complaint (if
                   not, explain):


     c.    Dates on which parties or attornEJys will not be available for trial (specify dates and explain reasons for' unavailability}:
           7/19/2021-12/6/2021 - 6 trials, 2 arbitrations scheduled back to back, 1/31 /2022-2/25/2022 - trial, 3/14/2022-4/22/2/022 - 2
           trials, 5/10/2022-6/24/2022 - 2 trials, 7/5/2022-7/29/2022 - trial, 8/15/2022-9/11/2022 - 2 trials, 9/13/2022~9/30/2022 - trial

7. Estimated length of trial
     The party or parties estimate that the trial will take (check one):
     a.    0       days (specify number): 7~10
     b.    CJ      hours (short causes) (specify):

8. Trial representation (to be answered for each party)
     The. party or parties will be represented at trial     [KJ    by the attorney or party listed in the caption   CJ     by the following:
     a. Attorney:
     b. Firm:
     c. Address:
     .d. Telephone number:                                                       f.   Fax.number:
     e. E-mail address:                                                          g. Party represented:
     D       Additional. representation is described iri Attachment 8.
9. Preference
     CJ      This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
     a.    ADR informcition package. Please note that different ADR processes are available in different courts and c:;ommunities; read
           the ADR information package provided by the court under rule 3.221 for information about the processes available through the
           court and community programs in this case.

          (1) For parties represented by counsel: Counsel      D   has        D.   has not      provided the ADR information package identified
              in rule 3.221 to the client and reviewed ADR options with the client.
          (2) For self-represented parties: Party   CJ has CJ has not reviewed the ADR information package identified in rule. 3.221.
     b.    Referral to judicial arbitration or civil action mediation {if available).
           {1) CJ This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                   mediation undE:lr Code of Civil Procedure section 1775,3 becausE:l. the amount in controversy does not exceed the
                   statutory limit.
           (2) CJ Plaintiff elects to refer this case to judicial .arbitration and agrees to limit recovery to the amount specified in Code of
                   Civil Procedum section 1141.11.
           (3} [TI This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                   mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):
                       (b )(3)
CM-110 [Rev. July 1, 2011]                                                                                                                  Page 2 of5
                                                         CASE MANAGEMENT STATEMENT


                                                                                                                                   Exhibit A, Page 32
Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 34 of 42 Page ID #:34




 1       TRITIA M. MURATA (CA SBN 234344)
         TMurata@mofo.com
 2       NEIL S. TYLER (CA SBN 301719)
         NTyler@mofo.com
 3       MORRISON & FOERSTER LLP
         707 Wilshire Boulevard
 4       Los Angeles, California 90017-3543
         Telephone: 213.892.5200
 5       Facsimile: 213.892.5454

 6       Attorneys for Defendants JBS USA
         FOOD COMPANY and SWIFT BEEF
 7       COMPANY
 8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                        COUNTY OF RIVERSIDE
10       LANE STOLL, an individual,                         Case No.   CVRI2000256
11
                      Plaintiff,                            DEFENDANTS JBS USA FOOD
12                                                          COMPANY AND SWIFT BEEF
               vs.                                          COMPANY’S ANSWER TO
13                                                          PLAINTIFF’S UNVERIFIED
         JBS USA FOOD CO. dba SWIFT BEEF                    COMPLAINT
14       COMPANY, a California business, form
15       unknown; JBS CASE READY, a California              Action Filed: November 17, 2020
         business, form unknown; and DOES 1 through         Trial Date: None Set
16       20, inclusive,

17                    Defendants.
18            Defendants JBS USA FOOD COMPANY and SWIFT BEEF COMPANY (“Defendants”) 1
19 hereby submit this Answer to the unverified Complaint (the “Complaint”) of Plaintiff LANE
20 STOLL (“Plaintiff”), as follows:
21                                          GENERAL DENIAL
22            1.      Pursuant to § 431.30, subdivision (d) of the Code of Civil Procedure, Defendants
23 generally deny each and every material allegation contained in the Complaint, and each cause of
24 action thereof, and specifically deny that Plaintiff has been damaged in any manner or amount, as
25 alleged in the Complaint, or at all.
26        WHEREFORE, Defendants pray for judgment as hereinafter set forth.
27
     1
28       Defendant “JBS Case Ready” is a non-existent entity.

                                                 1
                        DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
                                                                                       Exhibit A, Page 33
     sf-4520079
Case 5:21-cv-01111-KK Document 1 Filed 07/02/21 Page 35 of 42 Page ID #:35




 1                            SEPARATE AND ADDITIONAL DEFENSES

 2                         FIRST SEPARATE AND ADDITIONAL DEFENSE

 3                                        (Failure to State a Claim)

 4          2.      The Complaint and each purported cause of action contained therein fail to state facts

 5 sufficient to constitute a cause of action.
 6                       SECOND SEPARATE AND ADDITIONAL DEFENSE

 7                                         (Statute of Limitations)

 8          3.      The Complaint and each purported cause of action contained therein are barred to

 9 the extent Plaintiff seeks relief for conduct occurring outside the applicable statute of limitations, as
10 set forth in Code of Civil Procedure sections 335.1, 338(a), and 343; Government Code sections
11 12960 and 12965; and Business and Professions Code section 17208, among others.
12                        THIRD SEPARATE AND ADDITIONAL DEFENSE

13                                     (Statute of Limitations - FEHA)

14          4.      To the extent Plaintiff’s claims are based upon events, incidents, acts or omissions

15 that occurred more than three years before he filed any charge with the California Department of
16 Fair Employment and Housing (“DFEH”), the Complaint and Plaintiff’s Second, Third, Fourth,
17 Fifth, Sixth, and Seventh Causes of Action contained therein are barred, in whole or in part, by
18 Plaintiff’s failure to timely exhaust his administrative remedies under the California Fair
19 Employment and Housing Act (“FEHA”).
20                       FOURTH SEPARATE AND ADDITIONAL DEFENSE

21                         (Legitimate Non-Discriminatory Reasons for Action)

22          5.      All of the employment decisions about which Plaintiff complains were made for

23 legitimate, nondiscriminatory and non-retaliatory reasons, unrelated to Plaintiff’s alleged national
24 origin or protected conduct or any other status protected by law, and unrelated to any activities or
25 conduct protected by law.
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                       DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
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 1                         FIFTH SEPARATE AND ADDITIONAL DEFENSE

 2                                           (Lack of Standing)

 3          6.      The Complaint and each purported cause of action contained therein are barred to

 4 the extent Plaintiff lacks standing to assert these matters against Defendants.
 5                         SIXTH SEPARATE AND ADDITIONAL DEFENSE

 6                                            (Not Employer)

 7          7.      The Complaint and each purported cause of action contained therein are barred to

 8 the extent Defendants did not employ Plaintiff during the period of time relevant to his claims in
 9 this action.
10                      SEVENTH SEPARATE AND ADDITIONAL DEFENSE

11                                            (Same Decision)

12          8.      Defendants would have made the same decisions regarding Plaintiff’s employment

13 regardless of any alleged unlawful motive, and any alleged adverse actions would have occurred for
14 legitimate, independent reasons even if the employee had not engaged in activities protected by
15 Section 1102.5.
16                       EIGHTH SEPARATE AND ADDITIONAL DEFENSE

17                                (Workers’ Compensation Preemption)

18          9.      This Court lacks jurisdiction over Plaintiff’s claims for damages for mental,

19 emotional, or physical injuries arising out of Plaintiff’s employment, in that the exclusive remedy
20 for such causes of action is provided by the Workers’ Compensation Act, California Labor Code
21 section 3200 et. seq.
22                         NINTH SEPARATE AND ADDITIONAL DEFENSE

23                                              (Good Faith)

24          10.     The Complaint and each purported cause of action contained therein are barred

25 because Defendants acted in good faith and for good cause at all times, Defendants had reasonable
26 grounds for believing their acts did not violate the law, Defendants abided by, honored, and acted
27 in accordance with the policies, practices, and procedures that governed the relationship with
28 Plaintiff, and Defendants acted without malice, reckless indifference, or desire to harm Plaintiff.
                                               3
                      DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
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 1                        TENTH SEPARATE AND ADDITIONAL DEFENSE

 2                                   (No Fundamental Public Policy)

 3          11.     The Complaint and the Fifth Cause of Action for Wrongful Termination in Violation

 4 of Public Policy contained therein are barred to the extent they are not carefully tethered to
 5 fundamental policies that are delineated in constitutional or statutory provisions.
 6                      ELEVENTH SEPARATE AND ADDITIONAL DEFENSE

 7                                   (Failure to Comply with Policies)

 8          12.     The Complaint and each purported cause of action contained therein are barred

 9 because Defendants have taken reasonable care to avoid and eliminate discrimination and
10 retaliation, Plaintiff did not comply with policies applicable to his employment or take reasonable
11 steps to take advantage of Defendants’ safeguards to prevent harm, and reasonable use of
12 Defendants’ policies and procedures would have prevented the harm that Plaintiff allegedly
13 suffered, to the extent any harm occurred at all (which Defendants deny).
14                      TWELFTH SEPARATE AND ADDITIONAL DEFENSE

15                                      (Plaintiff’s Other Conduct)

16          13.     The Complaint and each purported cause of action contained therein are barred to

17 the extent any alleged damages were caused by the negligence, failure to perform, or other conduct
18 of the Plaintiff.
19                     THIRTEENTH SEPARATE AND ADDITIONAL DEFENSE

20                                      (After-Acquired Evidence)

21          14.     The Complaint and each purported cause of action contained therein are barred to

22 the extent Plaintiff engaged in any fraud or misconduct of which Plaintiff’s employer was unaware
23 until after Plaintiff filed suit, and which, if known, would have caused Plaintiff to be terminated or
24 not hired in the first place.
25                     FOURTEENTH SEPARATE AND ADDITIONAL DEFENSE

26                                      (Avoidable Consequences)

27          15.     Plaintiff is barred from any recovery against Defendants because (1) reasonable care

28 was exercised to prevent and promptly correct any allegedly harassing conduct against Plaintiff; (2)
                                                4
                       DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
                                                                                                 DN 6034492.1
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 1 Plaintiff unreasonably failed to take advantage of Defendants’ harassment prevention and correction
 2 policies and procedures; and (3) reasonable use of Defendants’ harassment prevention and
 3 correction policies and procedures would have prevented the harm that Plaintiff allegedly suffered,
 4 to the extent any harassment or harm occurred at all (which Defendants deny).
 5                     FIFTEENTH SEPARATE AND ADDITIONAL DEFENSE

 6                                (Failure to Exhaust Internal Remedies)

 7          16.     The complaint and each purported cause of action contained therein are barred to the

 8 extent Plaintiff unreasonably failed to take advantage of Defendants’ effective equal employment
 9 opportunity or other policies or otherwise exhaust internal remedies.
10                     SIXTEENTH SEPARATE AND ADDITIONAL DEFENSE

11                            (Failure to Exhaust Administrative Remedies)

12          17.     The Complaint and each purported cause of action contained therein are barred to

13 the extent Plaintiff failed to exhaust administrative remedies as to each named Defendant as a
14 prerequisite to filing suit. In particular, the Complaint and each purported cause of action contained
15 therein are barred to the extent they assert claims premised on allegedly unlawful conduct not
16 included in a charge filed by Plaintiff with the DFEH, because such allegations could not be
17 expected to flow from any investigation conducted by the DFEH and thus do not comply with the
18 administrative exhaustion requirements of FEHA, Gov. Code, § 12900, et seq.
19                  SEVENTEENTH SEPARATE AND ADDITIONAL DEFENSE

20                                                (Waiver)

21          18.     The Complaint and each purported cause of action contained therein are barred to

22 the extent Plaintiff, by his actions, has waived any claims he had against Defendants, to the extent
23 he had any such claim (which Defendants deny).
24                   EIGHTEENTH SEPARATE AND ADDITIONAL DEFENSE

25                                               (Estoppel)

26          19.     The Complaint and each purported cause of action contained therein are barred to

27 the extent any conduct of Defendants that is alleged to be unlawful was taken as a result of conduct
28 by Plaintiff, and he is thus estopped to assert any cause of action against Defendants.
                                                5
                       DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
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 1                   NINETEENTH SEPARATE AND ADDITIONAL DEFENSE

 2                                           (Unclean Hands)

 3          20.     The Complaint and each purported cause of action contained therein are barred to

 4 the extent Plaintiff has been guilty of improper conduct connected to the matters alleged in the
 5 Complaint.
 6                    TWENTIETH SEPARATE AND ADDITIONAL DEFENSE

 7                                               (Consent)

 8          21.     The Complaint and each purported cause of action contained therein are barred to

 9 the extent Plaintiff consented to the alleged conduct of Defendant.
10                  TWENTY-FIRST SEPARATE AND ADDITIONAL DEFENSE

11                                         (Failure to Mitigate)

12          22.     Any damages or penalties should be reduced to the extent Plaintiff failed to mitigate

13 them.
14                TWENTY-SECOND SEPARATE AND ADDITIONAL DEFENSE

15                                                (Offset)

16          23.     Any damages claimed by Plaintiff should be reduced to the extent they are subject to

17 offset, representing amounts improperly obtained from Defendant, or which would constitute unjust
18 enrichment to Plaintiff, or which Plaintiff received from other sources, including Workers’
19 Compensation or alternative and/or subsequent employment.
20                  TWENTY-THIRD SEPARATE AND ADDITIONAL DEFENSE

21                                             (No Damages)

22          24.     The Complaint and each purported cause of action contained therein are barred to

23 the extent Plaintiff cannot establish that he sustained any damages as a result of any actions taken,
24 or not taken, by Defendants.
25                TWENTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE

26                                              (Causation)

27          25.     The Complaint and each purported cause of action contained therein are barred

28 because any damages allegedly suffered by Plaintiff were proximately and actually caused by his
                                               6
                      DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
                                                                                                 DN 6034492.1
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 1 own acts or omissions, the acts or omissions of a third party, or by events outside of Defendants’
 2 control, and not by Defendants.
 3                  TWENTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE

 4                                         (No Punitive Damages)

 5          26.     Plaintiff’s claims for punitive damages are precluded because Defendants acted in

 6 good faith and without fraud, oppression, or malice toward Plaintiff or his rights.
 7                  TWENTY-SIXTH SEPARATE AND ADDITIONAL DEFENSE

 8                                         (No Emotional Distress)

 9          27.     Plaintiff’s claims for damages and mental or emotional injuries arising out of

10 Plaintiff’s employment are barred because Defendants’ action were not intentional, Defendants’
11 actions were not outrageous, and Plaintiff has not suffered any severe emotional distress.
12                TWENTY-SEVENTH SEPARATE AND ADDITIONAL DEFENSE

13                                       (Adequate Legal Remedy)

14          28.     To the extent Plaintiff seeks injunctive relief or any other form of equitable relief,

15 Plaintiff is not entitled to such relief because Plaintiff has an adequate remedy at law, and because
16 any harm Plaintiff suffered is not irreparable.
17                 TWENTY-EIGHTH SEPARATE AND ADDITIONAL DEFENSE

18                                    (No Bases for Injunctive Relief)

19          29.     To the extent Plaintiff seeks injunctive relief, Plaintiff is not entitled to such relief

20 because Plaintiff is a former employee who lacks standing to seek injunctive relief as to Defendants’
21 employment practices, and in any event, there is no ongoing wrongful conduct to enjoin, and
22 Plaintiff cannot show the possibility of irreparable harm as a result of any acts or omissions by
23 Defendants.
24          Defendants reserve the right to amend their Answer to allege any additional defenses as may

25 later become available or apparent to them. Further, Defendants reserve the right to withdraw any
26 defenses that they subsequently determine to be inapplicable. No defense is being knowingly or
27 intentionally waived. Nothing stated in the foregoing defenses constitutes a concession that
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                      DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
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 1 Defendants bear the burden of proof on any issue on which they would not otherwise bear such
 2 burden.
 3                                       PRAYER FOR RELIEF

 4          WHEREFORE, Defendants pray for judgment as follows:

 5          1.     That this Court deny Plaintiff’s claims in their entirety and Plaintiff takes nothing by

 6 virtue of this action;
 7          2.     That judgment be entered in favor of Defendants and against Plaintiff and the action

 8 be dismissed with prejudice;
 9          3.     For Defendants’ costs of suit and attorneys’ fees incurred herein; and

10          4.     For such other and further relief as the Court may deem just and proper.

11
     Dated: July 1, 2021                      MORRISON & FOERSTER LLP
12
13                                            By:
14                                                    Tritia M. Murata

15                                                  Attorneys for Defendants JBS USA FOOD
                                                    COMPANY and SWIFT BEEF COMPANY
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                      DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPANY
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                                       PROOF OF SERVICE BY MAIL
                                     (Code Civ. Proc. secs. 1013(a), 2015.5)
  2
              I declare that [ am employed with th e law firm of Morrison & Foerster LLP, whose address
  3   is 707 Wilshire Boulevard, Suite 6000, Los Angeles, California 90017-3543; ram not a party to
      the within cause; I am over the age of eighteen years and I am readily familiar w ith Morrison &
  4   Foerster' s practice for collection and processing of correspondence for mailing with the United
      States Postal Service and know that in the ordinary course of Morrison & Foerster' s business
  5   practice the document described below will be deposited with the United States Postal Service on
      the same date that it is placed at Morrison & Foerster with postage thereon fully prepaid for
  6   collection and mailing.

  7           I further declare that on the date hereof I served a copy of:

  8                  DEFENDANTS JBS USA FOOD COMPANY AND SWIFT
                     BEEF COMPANY'S ANSWER TO PLAINTIFF'S
  9                  UNVERIFIED COMPLAINT

 IO   on the following by placing a true copy thereof enclosed in a sealed envelope addressed as
      follows for collection and mailing at Morrison & Foerster LLr , 707 Wilshire Boulevard, Suite
 11   6000, Los Ange les, California 90017-3543 , in accordance with Morrison & Foerster' s ordinary
      business practices:
 12
                             Regina Spurley
 13                          LAW OFFICES OF REGINA SPURLEY
                             300N. Lake Ave,, Suite 1100
 14
                             Pasadena, CA 911 0 I
 15                          Telephone: 310.285.8595
                             Facsimile: 310.300.2 112
 16                          Email: regina@ raafirm.com

 17                              Attorneys for Plaintiff
                                       Lane Stoll
 18
               I declare under penalty of perjury under the laws of the State of California that the above
 19   is true and correct.
20            Executed at Los Angeles, California, this 1st day of July, 202 I.
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25
         Kenneth A . Martin
      ----(    ty-ped- ) ~ - -
                                                     :;7d4M                   (signature)


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                                               PROOF OF SERVICE


                                                                                              Exhibit A, Page 41
